                  United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT


No. 22-1073                                                 September Term, 2023
                                                           FILED ON: JULY 26, 2024
SINCLAIR WYOMING REFINING COMPANY LLC AND SINCLAIR CASPER REFINING COMPANY LLC,
                  PETITIONERS
v.
ENVIRONMENTAL PROTECTION AGENCY,
                 RESPONDENT
AMERICAN COALITION FOR ETHANOL, ET AL.,
                  INTERVENORS


Consolidated with 22-1075, 22-1100, 22-1102, 22-1109, 22-1114, 22-1115, 22-1122, 22-1128,
22-1129, 22-1130, 22-1132, 22-1133, 22-1135, 22-1165, 22-1181, 22-1183, 22-1185, 22-1186,
22-1187, 22-1188, 22-1189, 22-1190, 22-1191, 22-1192, 22-1194, 22-1195, 22-1197, 22-1199,
22-1219, 22-1238, 22-1240, 22-1246

                           On Petitions for Review of Final Actions
                           of the Environmental Protection Agency



No. 22-1074
SINCLAIR WYOMING REFINING COMPANY LLC,
                  PETITIONER
v.
ENVIRONMENTAL PROTECTION AGENCY,
                 RESPONDENT
AMERICAN PETROLEUM INSTITUTE AND KERN OIL & REFINING CO.,
                 INTERVENORS


Consolidated with 22-1125, 22-1126, 22-1127, 22-1179, 24-1008, 24-1010

                           On Petitions for Review of Final Actions
                           of the Environmental Protection Agency


       Before: PILLARD, RAO and PAN, Circuit Judges
                      United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT


No. 22-1073                                                    September Term, 2023
No. 22-1074

                                      JUDGMENT
       These causes came to be heard on the petitions for review of final actions of the
Environmental Protection Agency and were argued by counsel. On consideration thereof and in
accordance with the opinion of the court filed herein this date, it is
        ORDERED and ADJUDGED that, in accordance with the opinion of the court filed herein
this date, the petitions of Company A and Company B be denied, but otherwise the petitions for
review in No. 22-1073 be granted, the Denial Actions be vacated, and the cases be remanded to
EPA for further proceedings; and, with respect to the petitions in No. 22-1074, Growth Energy’s
and Wynnewood’s petitions be dismissed and Sinclair’s petition be denied.
                                         Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk
                                                  BY:    /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk

Date: July 26, 2024
Opinion Per Curiam
